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                      Declaration of John A. Kiltz Pg 1 of 8



                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

In re:                                          §    Chapter 11
                                                §
900 Cesar Chavez, LLC,                          §    Case No. 19-11527-tmd
                                                §
905 Cesar Chavez, LLC,                          §    Case No. 19-11528-tmd
                                                §
5th and Red River, LLC,                         §    Case No. 19-11529-tmd
                                                §
7400 South Congress, LLC,                       §    Case No. 19-11530-tmd
                                                §
                Debtors.                        §    (Jointly Administered Under
                                                §    Case No. 19-11527-tmd)

            DECLARATION OF JOHN A. KILTZ IN SUPPORT OF
         MOTION OF ATX LENDER 5, LLC FOR RELIEF FROM THE
   AUTOMATIC STAY FOR CAUSE UNDER 11 U.S.C. § 362(d)(1) WITH RESPECT
     TO NON-RESIDENTIAL REAL PROPERTY [WITH WAIVER OF 30-DAY
            HEARING REQUIREMENT UNDER 11 U.S.C. § 362(e)]

         I, John A. Kiltz, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746

that the following is true and correct to the best of my knowledge and belief:

         1.     I am the vice president of ATX Lender 5, LLC (“ATX”). I am over the age of

eighteen (18) years and have never been convicted of a felony or a crime of moral turpitude. I

either have personal knowledge of the facts stated herein or have been made aware of the facts

stated herein during the course of my service as the vice president of ATX. If called and sworn

as a witness, I could and would testify competently to the facts set forth herein. I am submitting

this Declaration in support of the Motion of ATX Lender 5, LLC for Relief from the Automatic

Stay for Cause Under 11 U.S.C. § 362(d)(1) With Respect to Non-Residential Real Property

[With Waiver of 30-Day Hearing Requirement Under 11 U.S.C. § 362(e)] (the “Motion”).

         2.     ATX was organized on or about September 19, 2019 to acquire certain

indebtedness owed by the following entities: 900 Cesar Chavez, LLC, 905 Cesar Chavez, LLC,


                                                                   EXHIBIT "10"
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5th and Red River, LLC, and 7400 South Congress, LLC (collectively, the “Debtors” and,

individually, a “Debtor”). I have been informed that the Debtors own the following tracts of

commercial real property: (1) 504 East 5th Street in Austin, Texas, (2) 900 and 904 East Cesar

Chavez Street in Austin, Texas, (3) 905 and 907 East Cesar Chavez Street in Austin, Texas, and

(4) 7400 South Congress Avenue in Austin, Texas (collectively, the “Properties” or, individually,

a “Property”).

        3.       On or about September 20, 2019, ATX entered into a Loan Purchase and Sale

Agreement (the “ATX Loan Purchase Agreement”) with U.S. Real Estate Credit Holdings III, LP

(the “Original Lender Affiliate”) to purchase a note and associated documents and instruments

then-owned by the Original Lender Affiliate. In connection with the consummation of this

transaction, ATX and the Original Lender Affiliate executed several agreements, assignments,

and related documents, including the following: (1) an Assignment and Assumption Agreement,

dated September 24, 2019 (the “ATX Assignment Agreement”), (2) an Allonge, dated September

24, 2019 (the “ATX Allonge”), executed by the Original Lender Affiliate in ATX’s favor, and

(3) that certain Assignment of Mortgage/Deed of Trust and Assignment of Rents and Leases,

dated September 24, 2019 (the “ATX DOT/Proceeds Assignment”).1

        4.       The ATX Assignment Documents memorialized ATX’s acquisition of the

following agreements, instruments, and documents (among various other documents and

instruments also acquired by ATX): (i) a $22,932,250 Promissory Note (the “Note”), dated

September 21, 2018, given by the Debtors in favor of U.S. Real Estate Credit Holdings III-A, LP

(“Original Lender”), the original lender and predecessor-in-interest to the Original Lender


1
 The ATX Loan Purchase Agreement, the ATX Assignment Agreement, the ATX Allonge, the ATX DOT/Proceeds
Assignment, and all other financing-statement assignments, agreements, instruments, and related documents
acquired by ATX in connection with the loan-purchase transaction between ATX and the Original Lender Affiliate
are referred to collectively in this Declaration as the “ATX Assignment Documents”.


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Affiliate, (ii) a Loan Agreement, dated September 21, 2018 (the “Loan Agreement”), between the

Debtors and the Original Lender, (iii) a Deed of Trust, Security Agreement, and Financing

Statement, dated September 21, 2018 (the “Deed of Trust”), given by the Debtors in favor of the

Original Lender, (iv) an Assignment of Leases and Rents, dated September 21, 2018 (the

“Proceeds Assignment”) between the Debtors and the Original Lender, (v) an Assignment and

Assumption of Loan Interest, dated December 13, 2018 (the “Affiliate Assignment Agreement”),

between the Original Lender and the Original Lender Affiliate, (vi) an Allonge, dated December

13, 2018 (the “Affiliate Allonge”) executed by the Original Lender in favor of the Original

Lender Affiliate, (vii) an Assignment of Deed of Trust, Security Agreement, and Financing

Statement, dated December 13, 2018 (the “Affiliate DOT Assignment”) between the Original

Lender and the Original Lender Affiliate, and (viii) an Assignment of Assignment of Leases and

Rents, dated December 13, 2018 (the “Affiliate Assignment—Proceeds”) between the Original

Lender and the Original Lender Affiliate.2

        5.       At the time that ATX acquired the Loan Transaction Documents, the Original

Lender Affiliate provided ATX with the payment and transaction history for the Note and the

associated indebtedness owed by the Debtors to the Original Lender Affiliate (the “Loan”). I

have attached as Exhibit “A” to this Declaration a true and correct copy of the loan-transaction

history (“Loan History”) provided to ATX by the Original Lender Affiliate on or about

September 24, 2019. The Loan History reflects the loan disbursements, loans advances,

payments, charges, fees and expenses incurred by the Debtors in connection with the Note as of

September 18, 2019.


2
  The agreements, assignments, instruments, and related documents acquired by ATX from the Original Lender
Affiliate, including without limitation, the Note, the Loan Agreement, the Deed of Trust, the Proceeds Assignment,
the Affiliate Assignment Agreement, the Affiliate Allonge, the Affiliate DOT Assignment, and the Affiliate
Assignment—Proceeds are referred to collectively in this Declaration as the “Loan Transaction Documents”.


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        6.     In the ATX Loan Purchase Agreement, the Original Lender Affiliate represented

and warranted to ATX that, as of September 18, 2019, the Original Lender Affiliate had not

received any payments from the Debtors under the Loan Transaction Documents since June 10,

2019. Based on this representation and on my personal knowledge of the Loan since ATX

acquired it on September 24, 2019, I understand that the Debtors have not made any payments on

the Loan in July 2019, August 2019, September 2019, October 2019, or November 2019.

Further, the Original Lender Affiliate also represented and warranted to ATX that, as of

September 18, 2019, the Debtors were in default under the Loan as provided in the Loan

Transaction Documents and that the Loan had been accelerated.

        7.     Based on the Loan History, Loan Transaction Documents, and representations

provided by the Original Lender Affiliate to ATX, I calculate that the unpaid principal amount

due on the Note is $17,858,636.54 as of November 15, 2019. As of November 15, 2019 interest

accrues on the Debtors’ obligations at the non-default rate in the amount of $3,869.37 per diem

and at the default rate in the amount of $6,349.74 per diem. As of November 15, 2019, I

calculate that the total of all amounts (including interest, default interest, fees, and other charges)

due under the Note and other Loan Transaction Documents is $19,184,469.70 as follows:

                         Amounts Due as of 11/15/19                  Totals
                 Unpaid Principal Balance                            $17,858,636.54
                 Unpaid Interest (including default interest)         $1,027,411.83
                 Late Charges                                            $21,913.63
                 Late Reporting Fee                                      $23,000.00
                 Attorneys’ Fees and Other Charges                      $253,507.70
                 Total =                                             $19,184,469.70

        8.     The current reserve available for payment of ad valorem taxes is $163,359.71.

The current reserve available for payment of insurance is $955.43. Based on the best available

information from taxing authorities, the current reserve for payment of ad valorem taxes

($163,359.71) is insufficient to satisfy the expected 2019 ad valorem taxes of $282,488.31. (The



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total shortfall is $119,128.60.)

        9.     Each of the Properties is flawed in some way. The 5th and Red River property is

partially unimproved raw land which is encumbered by the capital view corridor height

limitations. The 5th and Red River property is also partially improved by historical buildings that

must be preserved and would limit future redevelopment. The capital view corridor and historical

buildings combine to significantly limit what could be developed on the 5th and Red River

property which, in turn, limits the value. The South Congress tracts are unimproved raw land

and are not entitled for multi-family, which is ultimately the highest and best use for the

property. The entitlement process in Austin is expensive, time consuming, uncertain and fraught

with risk. The risk is difficult to quantify and limits the value. The Cesar Chavez properties are

unimproved raw land and are prohibited by zoning from hotel or restaurant uses. Additionally,

the Cesar Chavez properties are limited by a height restriction and compatibility setback

requirements. The above considerations all impact the value of the Properties. In addition, the

properties generate no meaningful income. The Properties generate minimal parking revenue

which may or may not cover property taxes. I estimate that the Properties’ current market value

is approximately the amount of the debt, $19,185,000, and may be in excess of the debt.

However, the value of the Properties depends on a myriad of factors, including, but not limited to

those discussed above. I provide this statement of estimated value for the Properties solely in

order to comply with Rule 4001(a)(1)(A) of the Local Rules of the United States Bankruptcy

Court for the Western District of Texas.

        [Signature Page Follows]




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        Dated: November 15, 2019.
               Austin, Texas

                                            John A. Kiltz
                                     John A. Kiltz




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Asset Number Trans Date Due Date Effective Date           Description      Suspense Transaction Amount     Principal      Interest       Tax      Insurance Late Charge Reserves Principal Balance Notes
      2325101 8/13/2019                           LATE CHARGE ASSESSED            0               201.43             0             0            0          0      201.43       0     17,858,636.54
      2325101  8/6/2019 8/1/2019                  LATE CHARGE ASSESSED            0             7,688.11             0             0            0          0    7,688.11       0     17,858,636.54
      2325101  8/1/2019                           INT ON ESCROW DEBIT             0                23.04             0             0       -23.04          0           0       0     17,858,636.54
      2325101  8/1/2019                           INT ON ESCROW DEBIT             0                 0.26             0             0            0      -0.26           0       0     17,858,636.54
      2325101 7/22/2019              7/22/2019    INS DISBURSEMENT                0             1,295.00             0             0            0 -1,295.00            0       0     17,858,636.54
      2325101 7/16/2019                           LATE CHARGE WAIVED              0             1,200.41             0             0            0          0   -1,200.41       0     17,858,636.54
      2325101 7/12/2019 7/1/2019      7/5/2019    LATE REPORTING FEE              0             7,750.00             0             0            0          0           0       0     17,858,636.54
      2325101 7/12/2019 7/1/2019      7/5/2019    UNUSED CR FACILITY FEE          0             2,240.34             0             0            0          0           0       0     17,858,636.54
      2325101 7/12/2019 7/1/2019      7/5/2019    BORROWER PD SVC FE              0             1,911.02             0             0            0          0           0       0     17,858,636.54
      2325101 7/11/2019 7/1/2019                  LATE CHARGE ASSESSED            0             6,275.38             0             0            0          0    6,275.38       0     17,858,636.54
      2325101 7/11/2019 7/1/2019                  LATE CHARGE ASSESSED            0             1,200.41             0             0            0          0    1,200.41       0     17,858,636.54
      2325101 7/11/2019 7/1/2019      7/5/2019    PAYMENT REC'D                   0            24,008.13             0             0    23,863.93      144.2           0       0     17,858,636.54
      2325101 7/11/2019 7/1/2019                  PAYMENT REVERSAL                0           125,507.71             0   -125,507.71            0          0           0       0     17,858,636.54
      2325101 7/11/2019 7/1/2019      7/5/2019    PAYMENT REVERSAL                0            24,008.13             0             0   -23,863.93     -144.2           0       0     17,858,636.54
      2325101 7/11/2019 7/1/2019      7/5/2019    UNUSED CR FACILITY FEE          0             2,240.34             0             0            0          0           0       0     17,858,636.54
      2325101 7/11/2019 7/1/2019      7/5/2019    BORROWER PD SVC FE              0             1,911.02             0             0            0          0           0       0     17,858,636.54
      2325101 7/11/2019 7/1/2019      7/5/2019    LATE REPORTING FEE              0             7,750.00             0             0            0          0           0       0     17,858,636.54
      2325101 7/11/2019               7/1/2019    LOAN ADVANCE REVERSAL           0           125,507.71   -125,507.71             0            0          0           0       0     17,858,636.54
      2325101  7/8/2019 7/1/2019                  LATE CHARGE WAIVED              0             1,200.41             0             0            0          0   -1,200.41       0     17,984,144.25
      2325101  7/8/2019 7/1/2019      7/5/2019    LATE REPORTING FEE              0             7,750.00             0             0            0          0           0       0     17,984,144.25
      2325101  7/8/2019 7/1/2019      7/5/2019    UNUSED CR FACILITY FEE          0             2,240.34             0             0            0          0           0       0     17,984,144.25
      2325101  7/8/2019 7/1/2019      7/5/2019    BORROWER PD SVC FE              0             1,911.02             0             0            0          0           0       0     17,984,144.25
      2325101  7/8/2019 7/1/2019      7/5/2019    PAYMENT REC'D                   0            24,008.13             0             0    23,863.93      144.2           0       0     17,984,144.25
      2325101  7/6/2019 7/1/2019                  LATE CHARGE ASSESSED            0             1,200.41             0             0            0          0    1,200.41       0     17,984,144.25
      2325101  7/1/2019                           INT ON ESCROW DEBIT             0                 0.42             0             0            0      -0.42           0       0     17,984,144.25
      2325101  7/1/2019                           INT ON ESCROW DEBIT             0                26.93             0             0       -26.93          0           0       0     17,984,144.25
      2325101  7/1/2019 7/1/2019                  PAYMENT REC'D                   0           125,507.71             0    125,507.71            0          0           0       0     17,984,144.25
      2325101  7/1/2019               7/1/2019    LOAN ADVANCE                    0           125,507.71    125,507.71             0            0          0           0       0     17,984,144.25
      2325101 6/10/2019 6/3/2019                  LATE CHARGE WAIVED              0             1,200.41             0             0            0          0   -1,200.41       0     17,858,636.54
      2325101 6/10/2019               6/7/2019    LATE CHARGE PAYMENT             0             1,413.42             0             0            0          0   -1,413.42       0     17,858,636.54
      2325101 6/10/2019 6/1/2019      6/7/2019    UNUSED CR FACILITY FEE          0             2,220.03             0             0            0          0           0       0     17,858,636.54
      2325101 6/10/2019 6/1/2019      6/7/2019    BORROWER PD SVC FE              0             1,911.02             0             0            0          0           0       0     17,858,636.54
      2325101 6/10/2019 6/3/2019      6/7/2019    PAYMENT REC'D                   0            24,008.13             0             0    23,863.93      144.2           0       0     17,858,636.54
      2325101  6/8/2019 6/3/2019                  LATE CHARGE ASSESSED            0             1,200.41             0             0            0          0    1,200.41       0     17,858,636.54
      2325101  6/4/2019 6/3/2019      6/3/2019    PAYMENT REC'D                   0           129,765.48             0    129,765.48            0          0           0       0     17,858,636.54
      2325101  6/4/2019               6/3/2019    LOAN ADVANCE                    0           129,765.48    129,765.48             0            0          0           0       0     17,858,636.54
      2325101  6/3/2019                           INT ON ESCROW DEBIT             0                 0.38             0             0            0      -0.38           0       0     17,728,871.06
      2325101  6/3/2019                           INT ON ESCROW DEBIT             0                21.13             0             0       -21.13          0           0       0     17,728,871.06
      2325101 5/16/2019 5/1/2019     5/15/2019    UNUSED CR FACILITY FEE          0             2,349.11             0             0            0          0           0       0     17,728,871.06
      2325101 5/16/2019 5/1/2019     5/15/2019    BORROWER PD SVC FE              0             1,911.02             0             0            0          0           0       0     17,728,871.06
      2325101 5/16/2019 5/1/2019     5/16/2019    PAYMENT REC'D                   0            24,008.13             0             0    23,863.93      144.2           0       0     17,728,871.06
      2325101 5/14/2019                           LATE CHARGE ASSESSED            0               213.01             0             0            0          0      213.01       0     17,728,871.06
      2325101  5/6/2019 5/1/2019                  LATE CHARGE ASSESSED            0             1,200.41             0             0            0          0    1,200.41       0     17,728,871.06
      2325101  5/3/2019 5/1/2019                  PAYMENT REC'D                   0           124,696.24             0    124,696.24            0          0           0       0     17,728,871.06
      2325101  5/3/2019               5/1/2019    LOAN ADVANCE                    0           124,696.24    124,696.24             0            0          0           0       0     17,728,871.06
      2325101  5/1/2019                           INT ON ESCROW DEBIT             0                 0.34             0             0            0      -0.34           0       0     17,604,174.82
      2325101  5/1/2019                           INT ON ESCROW DEBIT             0                16.63             0             0       -16.63          0           0       0     17,604,174.82
      2325101  4/8/2019 4/1/2019                  LATE CHARGE WAIVED              0             1,200.41             0             0            0          0   -1,200.41       0     17,604,174.82
      2325101  4/8/2019 4/1/2019      4/5/2019    UNUSED CR FACILITY FEE          0             2,166.74             0             0            0          0           0       0     17,604,174.82
      2325101  4/8/2019 4/1/2019      4/5/2019    BORROWER PD SVC FE              0             1,911.02             0             0            0          0           0       0     17,604,174.82
      2325101  4/8/2019 4/1/2019      4/5/2019    PAYMENT REC'D                   0            24,008.13             0             0    23,863.93      144.2           0       0     17,604,174.82
      2325101  4/6/2019 4/1/2019                  LATE CHARGE ASSESSED            0             1,200.41             0             0            0          0    1,200.41       0     17,604,174.82
      2325101  4/3/2019 4/1/2019      4/1/2019    PAYMENT REC'D                   0           127,916.50             0    127,916.50            0          0           0       0     17,604,174.82
      2325101  4/3/2019               4/1/2019    LOAN ADVANCE                    0           127,916.50    127,916.50             0            0          0           0       0     17,604,174.82
      2325101  4/1/2019                           INT ON ESCROW DEBIT             0                15.23             0             0       -15.23          0           0       0     17,476,258.32
      2325101  4/1/2019                           INT ON ESCROW DEBIT             0                 0.39             0             0            0      -0.39           0       0     17,476,258.32
      2325101  3/6/2019               3/5/2019    LATE CHARGE PAYMENT             0             1,329.59             0             0            0          0   -1,329.59       0     17,476,258.32
      2325101  3/6/2019 3/1/2019      3/5/2019    PAYMENT REC'D                   0            24,008.13             0             0    23,863.93      144.2           0       0     17,476,258.32
      2325101  3/6/2019 3/1/2019      3/5/2019    UNUSED CR FACILITY FEE          0             2,455.30             0             0            0          0           0       0     17,476,258.32
      2325101  3/6/2019 3/1/2019      3/5/2019    BORROWER PD SVC FE              0             1,911.02             0             0            0          0           0       0     17,476,258.32
      2325101  3/5/2019 3/1/2019      3/1/2019    PAYMENT REC'D                   0           115,617.05             0    115,617.05            0          0           0       0     17,476,258.32
      2325101  3/5/2019               3/1/2019    LOAN ADVANCE                    0           115,617.05    115,617.05             0            0          0           0       0     17,476,258.32
      2325101  3/1/2019                           INT ON ESCROW DEBIT             0                 0.17             0             0            0      -0.17           0       0     17,360,641.27
      2325101  3/1/2019                           INT ON ESCROW DEBIT             0                 4.32             0             0        -4.32          0           0       0     17,360,641.27
      2325101 2/13/2019                           LATE CHARGE ASSESSED            0               219.31             0             0            0          0      219.31       0     17,360,641.27
      2325101 2/11/2019 2/1/2019      2/8/2019    UNUSED CR FACILITY FEE          0             2,509.98             0             0            0          0           0       0     17,360,641.27
      2325101 2/11/2019 2/1/2019      2/8/2019    BORROWER PD SVC FE              0             1,911.02             0             0            0          0           0       0     17,360,641.27
      2325101 2/11/2019 2/1/2019      2/8/2019    PAYMENT REC'D                   0            22,205.69             0             0    22,035.52    170.17            0       0     17,360,641.27
      2325101  2/6/2019 2/1/2019                  LATE CHARGE ASSESSED            0             1,110.28             0             0            0          0    1,110.28       0     17,360,641.27
      2325101  2/4/2019 2/1/2019      2/1/2019    PAYMENT REC'D                   0           127,038.57             0    127,038.57            0          0           0       0     17,360,641.27
      2325101  2/4/2019               2/1/2019    LOAN ADVANCE                    0           127,038.57    127,038.57             0            0          0           0       0     17,360,641.27
      2325101 1/22/2019 1/2/2019     1/11/2019    PAYMENT REC'D                   0            22,205.69             0             0    22,035.52    170.17            0       0     17,233,602.70




                                                                                             EXHIBIT "A"




                                                                                                                                                                                                           ATX000201
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2325101    1/22/2019                1/11/2019 PAYMENT REVERSAL                 0       22,035.52             0          0 -22,035.52          0           0   0   17,233,602.70
2325101    1/22/2019                1/11/2019 PAYMENT REVERSAL                 0          170.17             0          0           0   -170.17           0   0   17,233,602.70
2325101    1/17/2019                          SUPSENSE ESCROW DISB       -128.29          128.29             0          0           0         0           0   0   17,233,602.70
2325101    1/17/2019                          SUPSENSE ESCROW DISB     -5,819.43        5,819.43             0          0           0         0           0   0   17,233,602.70
2325101    1/17/2019                1/11/2019 LATE CHARGE PAYMENT              0        1,329.59             0          0           0         0   -1,329.59   0   17,233,602.70
2325101    1/17/2019    1/1/2019    1/11/2019 UNUSED CR FACILITY FEE           0        2,475.24             0          0           0         0           0   0   17,233,602.70
2325101    1/17/2019    1/1/2019    1/11/2019 BORROWER PD SVC FE               0        1,911.02             0          0           0         0           0   0   17,233,602.70
2325101    1/17/2019                1/11/2019 SUSPENSE HELD PAYMENT     5,947.73        5,947.73             0          0           0         0           0   0   17,233,602.70
2325101    1/17/2019                1/11/2019 INS ESCROW PMT                   0          170.17             0          0           0    170.17           0   0   17,233,602.70
2325101    1/17/2019                1/11/2019 RE TAX ESCROW PAYMENT            0       22,035.52             0          0 22,035.52           0           0   0   17,233,602.70
2325101    1/14/2019    1/2/2019     1/9/2019 LATE CHARGE ASSESSED             0          219.31             0          0           0         0      219.31   0   17,233,602.70
2325101    1/11/2019   1/31/2019              R.E. TAX DISBURSEMENT            0               1             0          0          -1         0           0   0   17,233,602.70
2325101    1/11/2019   1/31/2019              R.E. TAX DISBURSEMENT            0        9,816.74             0          0   -9,816.74         0           0   0   17,233,602.70
2325101    1/11/2019   1/31/2019              R.E. TAX DISBURSEMENT            0       11,531.74             0          0 -11,531.74          0           0   0   17,233,602.70
2325101    1/11/2019   1/31/2019              R.E. TAX DISBURSEMENT            0       11,531.75             0          0 -11,531.75          0           0   0   17,233,602.70
2325101    1/11/2019   1/31/2019              R.E. TAX DISBURSEMENT            0       12,310.62             0          0 -12,310.62          0           0   0   17,233,602.70
2325101    1/11/2019   1/31/2019              R.E. TAX DISBURSEMENT            0       17,760.69             0          0 -17,760.69          0           0   0   17,233,602.70
2325101    1/11/2019   1/31/2019              R.E. TAX DISBURSEMENT            0       33,348.68             0          0 -33,348.68          0           0   0   17,233,602.70
2325101    1/11/2019   1/31/2019              R.E. TAX DISBURSEMENT            0       33,352.33             0          0 -33,352.33          0           0   0   17,233,602.70
2325101    1/11/2019   1/31/2019              R.E. TAX DISBURSEMENT            0      122,181.91             0          0 -122,181.91         0           0   0   17,233,602.70
2325101     1/7/2019    1/2/2019              LATE CHARGE ASSESSED             0        1,110.28             0          0           0         0    1,110.28   0   17,233,602.70
2325101     1/3/2019    1/2/2019     1/2/2019 PAYMENT REC'D                    0      123,340.71             0 123,340.71           0         0           0   0   17,233,602.70
2325101     1/3/2019                 1/2/2019 LOAN ADVANCE                     0      123,340.71    123,340.71          0           0         0           0   0   17,233,602.70
2325101   12/10/2018   12/3/2018              LATE CHARGE WAIVED               0        2,173.51             0          0           0         0   -2,173.51   0   17,110,261.99
2325101   12/10/2018   12/1/2018    12/7/2018 UNUSED CR FACILITY FEE           0        2,609.74             0          0           0         0           0   0   17,110,261.99
2325101   12/10/2018   12/1/2018    12/7/2018 BORROWER PD SVC FE               0        1,911.02             0          0           0         0           0   0   17,110,261.99
2325101   12/10/2018   12/3/2018    12/7/2018 PAYMENT REC'D                    0       43,470.17             0          0 43,300.00      170.17           0   0   17,110,261.99
2325101    12/8/2018   12/3/2018              LATE CHARGE ASSESSED             0        2,173.51             0          0           0         0    2,173.51   0   17,110,261.99
2325101    12/5/2018   12/3/2018    12/3/2018 PAYMENT REC'D                    0      118,587.72             0 118,587.72           0         0           0   0   17,110,261.99
2325101    12/5/2018                12/3/2018 LOAN ADVANCE                     0      118,587.72    118,587.72          0           0         0           0   0   17,110,261.99
2325101    12/3/2018                          INT ON ESCROW DEBIT              0            0.03             0          0           0     -0.03           0   0   16,991,674.27
2325101    12/3/2018                          INT ON ESCROW DEBIT              0             6.1             0          0        -6.1         0           0   0   16,991,674.27
2325101    11/8/2018                          LATE CHARGE WAIVED               0        6,042.52             0          0           0         0   -6,042.52   0   16,991,674.27
2325101    11/7/2018   11/1/2018              LATE CHARGE WAIVED               0        2,173.51             0          0           0         0   -2,173.51   0   16,991,674.27
2325101    11/7/2018   11/1/2018    11/1/2018 PAYMENT REC'D                    0      120,761.96             0 120,761.96           0         0           0   0   16,991,674.27
2325101    11/7/2018                11/1/2018 LOAN ADVANCE                     0      120,761.96    120,761.96          0           0         0           0   0   16,991,674.27
2325101    11/7/2018   11/1/2018    11/5/2018 PAYMENT REC'D                    0       43,470.17             0          0 43,300.00      170.17           0   0   16,870,912.31
2325101    11/7/2018   11/1/2018    11/5/2018 UNUSED CR FACILITY FEE           0          841.85             0          0           0         0           0   0   16,870,912.31
2325101    11/7/2018   11/1/2018    11/5/2018 BORROWER PD SVC FE               0        1,911.02             0          0           0         0           0   0   16,870,912.31
2325101    11/7/2018   11/1/2018    11/5/2018 BORROWER PD SVC FE               0          637.01             0          0           0         0           0   0   16,870,912.31
2325101    11/6/2018   11/1/2018              LATE CHARGE ASSESSED             0        8,216.03             0          0           0         0    8,216.03   0   16,870,912.31
2325101    11/1/2018                          INT ON ESCROW CREDIT             0            1.06             0          0        1.06         0           0   0   16,870,912.31
2325101    11/1/2018                          INT ON ESCROW CREDIT             0            0.01             0          0           0      0.01           0   0   16,870,912.31
2325101   10/23/2018               10/23/2018 INS ESCROW PMT                   0          850.85             0          0           0    850.85           0   0   16,870,912.31
2325101   10/23/2018               10/23/2018 RE TAX ESCROW PAYMENT            0      165,338.06             0          0 165,338.06          0           0   0   16,870,912.31
2325101   10/19/2018   11/1/2018    9/21/2018 PAYMENT REC'D                    0            88.4             0       88.4           0         0           0   0   16,870,912.31
2325101   10/19/2018   10/1/2018    9/21/2018 PAYMENT REC'D                    0       38,573.91             0 38,573.91            0         0           0   0   16,870,912.31
2325101   10/19/2018                9/21/2018 LOAN ADVANCE                     0            88.4          88.4          0           0         0           0   0   16,870,912.31
2325101   10/19/2018                9/21/2018 LOAN ADVANCE                     0       38,573.91     38,573.91          0           0         0           0   0   16,870,823.91
2325101   10/15/2018                          NEW LOAN                         0   16,832,250.00 16,832,250.00          0           0         0           0   0   16,832,250.00




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